             Case 3:20-cv-01379-JAM Document 1 Filed 09/15/20 Page 1 of 8




                            UNITED STATES
                            UNITED        DISTRICT COURT
                                   STATES DISTRICT COURT
                              DISTRICT OF
                              DISTRICT OF CONNECTICUT
                                          CONNECTICUT


STEVEN BERNEY,
STEVEN BERNEY,                      :                        CIVIL ACTION
                                                             CIVIL ACTION NO.:
                                                                          NO.:
                                    :
            Plaintiff,
            Plaintiff,              :                        3:20-cv-01379 ((
                                                             3:20-cv-01379        ))
                                    :
v.
v.                                  :
                                    :
APPLE INC.
APPLE  INC.                         :
                                    :
            Defendant.
            Defendant.              :                        September 15,
                                                             September 15, 2020
                                                                           2020
____________________________________:

                                          COMPLAINT
                                          COMPLAINT

I.
I.      INTRODUCTION
        INTRODUCTION

        1.
        1.      Plaintiff, Steven
                Plaintiff, Steven Berney
                                  Berney worked
                                         worked with
                                                with Defendant Apple for
                                                     Defendant Apple for 15 ½ years
                                                                         15 1/2 years as
                                                                                      as aa Regional
                                                                                            Regional

Sales
Sales Manager
      Manager and
              and in
                  in that
                     that capacity
                          capacity was
                                   was one
                                       one of
                                           of Apple’s excellent performers.
                                              Apple's excellent performers. At
                                                                            At 59
                                                                               59 years
                                                                                  years old,
                                                                                        old, his
                                                                                             his

age was
age was aa detrimental
           detrimental factor
                       factor when
                              when he
                                   he was
                                      was laid
                                          laid off,
                                               off, followed
                                                    followed aa short
                                                                short time
                                                                      time later
                                                                           later by
                                                                                 by Apple’s
                                                                                    Apple's decision
                                                                                            decision

to hire
to hire aa 37-year-old
           37-year-old woman
                       woman with
                             with no
                                  no managerial
                                     managerial experience, instead of
                                                experience, instead of Mr.
                                                                       Mr. Berney,
                                                                           Berney, for
                                                                                   for the
                                                                                       the position
                                                                                           position

of Regional
of Regional Sales
            Sales Manager.
                  Manager. He brings this
                           He brings this case
                                          case of
                                               of age
                                                  age discrimination
                                                       discrimination under
                                                                      under the
                                                                            the federal
                                                                                federal Age
                                                                                        Age

Discrimination in
Discrimination in Employment
                  Employment Act,
                             Act, 29
                                  29 U.S.C.
                                     U.S.C. Section
                                            Section 623
                                                    623 and
                                                        and the
                                                            the Connecticut
                                                                Connecticut Fair
                                                                            Fair Employment
                                                                                 Employment

Practices Act,
Practices Act, Conn.
               Conn. Gen.
                     Gen. Stat.
                          Stat. Section
                                Section 46a-60(a).
                                        46a-60(a).

        2.
        2.      Mr. Berney
                Mr. Berney demands
                           demands aa jury
                                      jury trial
                                           trial on
                                                 on all
                                                    all claims.
                                                        claims.

II.
II.     JURISDICTION AND
        JURISDICTION AND VENUE
                         VENUE

        3.
        3.      The Court has
                The Court has subject
                              subject matter
                                      matter jurisdiction
                                             jurisdiction over
                                                          over this action under
                                                               this action under 28
                                                                                 28 U.S.C.
                                                                                    U.S.C. Section
                                                                                           Section

1331.
1331.

        4.
        4.      Venue is
                Venue    proper in
                      is proper in this
                                   this District
                                        District under
                                                 under 28
                                                       28 U.S.C.
                                                          U.S.C. Section
                                                                 Section 1391
                                                                         1391 (b)(2)
                                                                              (b)(2) because
                                                                                     because aa

substantial part
substantial part of
                 of the
                    the events
                        events or
                               or omissions
                                  omissions giving
                                            giving rise
                                                   rise to
                                                        to the
                                                           the claims,
                                                               claims, occurred
                                                                       occurred in
                                                                                in Connecticut.
                                                                                   Connecticut.
            Case 3:20-cv-01379-JAM Document 1 Filed 09/15/20 Page 2 of 8




       5.
       5.      This Court has
               This Court has supplemental
                              supplemental jurisdiction
                                           jurisdictionover
                                                        over the
                                                              the Plaintiff’s state law
                                                                  Plaintiffs state   law claims,
                                                                                         claims,

pursuant to
pursuant to 28
            28 U.S.C.
               U.S.C. Section
                      Section 1367,
                              1367, because
                                    because they
                                            they form
                                                 form part
                                                      part of
                                                           of the
                                                              the same
                                                                  same case
                                                                       case or
                                                                            or controversy as are
                                                                               controversy as are

pled in
pled in the
        the federal
            federal claims.
                    claims.

III.  PARTIES
III. PARTIES

       6.
       6.      Plaintiff, Steven
               Plaintiff, Steven R.
                                 R. Berney,
                                    Berney, is
                                            is aa resident
                                                  resident of Connecticut and
                                                           of Connecticut and lives
                                                                              lives in
                                                                                    in the
                                                                                       the town
                                                                                           town of
                                                                                                of

New Milford.
New Milford. Mr.
             Mr. Berney’s date of
                 Berney's date of birth
                                  birth is
                                        is May
                                           May 22,
                                               22, 1960.
                                                   1960. At
                                                         At the
                                                            the time
                                                                 time of
                                                                      of his
                                                                         his termination
                                                                              termination from
                                                                                          from

Apple, and
Apple, and its
           its later
               later failure
                     failure to
                             to rehire
                                rehire him,
                                       him, he
                                            he was
                                               was 59
                                                   59 years
                                                      years old.
                                                            old.

       7.
       7.      Defendant Apple
               Defendant Apple Inc.
                               Inc. has its corporate
                                    has its corporate headquarters
                                                      headquarters at One Apple
                                                                   at One Apple Park
                                                                                Park Way,
                                                                                     Way,

Cupertino, CA
Cupertino, CA 95014.
              95014. Apple
                     Apple employs
                           employs more
                                   more than 20 employees
                                        than 20 employees in
                                                          in Connecticut.
                                                             Connecticut. At
                                                                          At all
                                                                             all relevant
                                                                                 relevant

times, Apple
times, Apple was
             was Mr.
                 Mr. Berney’s employer within
                     Berney's employer within the
                                              the meaning
                                                  meaning of
                                                          of the
                                                             the ADEA
                                                                 ADEA and
                                                                      and the
                                                                          the CFEPA.
                                                                              CFEPA.

IV.
IV.    EXHAUSTION OF
       EXHAUSTION OF ADMINISTRATIVE
                     ADMINISTRATIVE REMEDIES
                                    REMEDIES

       8.
       8.      Mr. Berney
               Mr. Berney filed
                          filed aa complaint
                                   complaint with
                                             with the
                                                  the Connecticut
                                                      Connecticut Commission
                                                                  Commission on
                                                                             on Human
                                                                                Human Rights
                                                                                      Rights

and Opportunities
and Opportunities (CHRO)
                  (CHRO) alleging
                         alleging age
                                  age discrimination,
                                      discrimination, and
                                                      and this
                                                          this complaint
                                                               complaint was
                                                                         was dual
                                                                             dual filed
                                                                                  filed with
                                                                                        with the
                                                                                             the

federal Equal Employment
federal Equal Employment Opportunity
                         Opportunity Commission.
                                     Commission.

       9.
       9.      Both complaints
               Both complaints were
                               were filed
                                    filed in
                                          in aa timely
                                                timely manner,
                                                       manner, because
                                                               because they
                                                                       they were
                                                                            were filed
                                                                                 filed within
                                                                                       within 180
                                                                                              180

days of
days of the
        the date
            date Mr.
                 Mr. Berney
                     Berney was
                            was terminated,
                                terminated, and within 180
                                            and within     days of
                                                       180 days    the date
                                                                of the date Mr.
                                                                            Mr. Berney
                                                                                Berney was
                                                                                       was not
                                                                                           not

rehired.

       10.
       10.     Mr. Berney
               Mr. Berney received
                          received aa Release
                                      Release of
                                              of Jurisdiction
                                                 Jurisdiction from
                                                              from the
                                                                   the CHRO,
                                                                       CHRO, dated
                                                                             dated August
                                                                                   August 27,
                                                                                          27,

2020 and
2020 and aa Dismissal
            Dismissal and
                      and Notice
                          Notice of
                                 of Rights
                                    Rights from
                                           from the
                                                the EEOC
                                                    EEOC dated
                                                         dated September
                                                               September 3,
                                                                         3, 2020
                                                                            2020 and
                                                                                 and has
                                                                                     has filed
                                                                                         filed

this Complaint
this Complaint within
               within 90
                      90 days
                         days of
                              of receipt
                                 receipt of
                                         of those
                                            those Releases.
                                                  Releases.

V.     STATEMENT OF FACTS

       11.     On April 1, 2002, Apple hired Mr. Berney as a Regional Sales Manager.

       12.     In his first 15 1/2
                               1/2 years
                                   years with
                                         with Apple
                                              Apple Mr.
                                                    Mr. Berney
                                                        Berney was
                                                               was an
                                                                   an award-winning
                                                                       award-winning Regional
                                                                                     Regional




                                                  2
           Case 3:20-cv-01379-JAM Document 1 Filed 09/15/20 Page 3 of 8




Sales Manager in
Sales Manager    the consumer
              in the consumer sales
                              sales channel.
                                    channel. His
                                             His performance
                                                 performance evaluations
                                                             evaluations were
                                                                         were always
                                                                              always at or
                                                                                     at or

above expectations,
above expectations, and
                    and he won two
                        he won two United
                                   United States
                                          States Regional
                                                 Regional Manager
                                                          Manager of the year
                                                                  of the year awards.
                                                                              awards. His
                                                                                      His

region was
region was one
           one of
               of the
                  the largest
                      largest in
                              in the
                                 the country.
                                     country. At
                                              At its
                                                 its peak
                                                     peak it
                                                          it had
                                                             had 63
                                                                 63 employees.
                                                                    employees.

       13.
       13.     For example,
               For example, in
                            in his
                               his annual
                                   annual review
                                          review effective
                                                 effective May
                                                           May 31,
                                                               31, 2016,
                                                                   2016, his
                                                                         his supervisor
                                                                             supervisor rated
                                                                                        rated his
                                                                                              his

performance as
performance    Regional Sales
            as Regional Sales Manager
                              Manager as
                                      as follows:
                                          follows: (1)
                                                    (1) Teamwork:
                                                         Teamwork: Exceeded
                                                                    Exceeded expectations
                                                                              expectations

consistently; (2)
consistently;      Innovation: Exceeded
              (2) Innovation:  Exceeded expectations
                                        expectations consistently;
                                                     consistently; (3) Results: Achieved
                                                                   (3) Results:  Achieved

expectations consistently.
expectations consistently. Especially
                           Especially concerning
                                      concerning teamwork,
                                                 teamwork, his
                                                           his team
                                                               team evaluated
                                                                    evaluated him as follows:
                                                                              him as follows:

“Words like
"Words like empowered,
            empowered, readily
                       readily available,
                               available, imaginative
                                          imaginative intelligence,
                                                      intelligence, excited
                                                                    excited to
                                                                            to work
                                                                               work for
                                                                                    for Steve
                                                                                        Steve are
                                                                                              are

all words
all words that
          that are
               are common
                   common in
                          in the
                             the feedback
                                 feedback from
                                          from his
                                               his team.”
                                                   team."

       14.
       14.     In that same
               In that same review,
                            review, the
                                    the results
                                        results from
                                                from 2015’s 4th quarter
                                                     2015's 4th quarter was
                                                                        was that
                                                                            that he
                                                                                 he was
                                                                                    was number
                                                                                        number

one in
one in the
       the division
           division in all 55 categories.
                    in all    categories. In
                                          In 2016’s first quarter,
                                             2016's first quarter, he
                                                                   he was
                                                                      was number
                                                                          number one
                                                                                 one in
                                                                                     in 55 categories
                                                                                           categories

and number
and number 22 in
              in 44 categories in the
                    categories in the division. In the
                                      division. In the 2nd
                                                       2nd quarter,
                                                           quarter, he
                                                                    he was
                                                                       was number
                                                                           number one
                                                                                  one in
                                                                                      in 66 categories,
                                                                                            categories,

number 22 in
number    in 22 categories
                categories and
                           and number
                               number 4
                                      4 in
                                        in one
                                           one category.
                                               category. In the 3rd
                                                         In the 3rd quarter,
                                                                    quarter, he was number
                                                                             he was number one
                                                                                           one in
                                                                                               in

55 categories
   categories and
              and number
                  number 22 in
                            in 33 categories.
                                  categories.

       15.
       15.     In his performance
               In his performance review
                                  review effective
                                         effective June
                                                   June 1, 2017, his
                                                        1, 2017, his supervisor
                                                                     supervisor rated him as
                                                                                rated him as

achieving expectations
achieving expectations in
                       in teamwork
                          teamwork and
                                   and results,
                                       results, and
                                                and exceeding
                                                    exceeding expectations
                                                              expectations in
                                                                           in innovation. Under
                                                                              innovation. Under

results his
results his supervisor
            supervisor stated:
                       stated: "Steve
                               “Steve manages
                                      manages the
                                              the largest
                                                  largest team
                                                          team in
                                                               in the
                                                                  the East.
                                                                      East. He
                                                                            He continually leads the
                                                                               continually leads the

organization in
organization in overall
                overall revenue
                        revenue and
                                and is
                                    is always
                                       always driving
                                              driving for
                                                      for results.”
                                                          results."

       16.
       16.     In around September,
               In around September, 2017
                                    2017 both his former
                                         both his former and
                                                         and current
                                                             current supervisors
                                                                     supervisors asked
                                                                                 asked him to
                                                                                       him to

take aa lateral
take    lateral move
                move to
                     to become
                        become Carrier
                               Carrier Account
                                       Account Manager
                                               Manager for
                                                       for the
                                                           the T-Mobile
                                                               T-Mobile account
                                                                        account in
                                                                                in the
                                                                                   the Northeast
                                                                                       Northeast

United States.
United States. In
               In his
                  his first
                      first annual
                            annual review
                                   review by
                                          by his
                                             his new
                                                 new supervisor,
                                                     supervisor, effective
                                                                 effective June
                                                                           June 1,
                                                                                1, 2018,
                                                                                   2018, Mr.
                                                                                         Mr. Berney
                                                                                             Berney

achieved expectations
achieved expectations in
                      in all
                         all areas.
                             areas. The
                                    The new
                                        new supervisor’s comments were
                                            supervisor's comments were very
                                                                       very complimentary.
                                                                            complimentary. The
                                                                                           The

supervisor stated
supervisor stated that
                  that Mr. Berney provided
                       Mr. Berney provided “valuable
                                           "valuable insight,” that he
                                                     insight," that he "integrated
                                                                       “integrated [himself]
                                                                                   [himself] well
                                                                                             well




                                                  3
            Case 3:20-cv-01379-JAM Document 1 Filed 09/15/20 Page 4 of 8




into the
into the team
         team while
              while at
                    at the
                        the same
                             same time
                                   time learning
                                         learning an
                                                  an entirely
                                                      entirely new
                                                               new business,"
                                                                    business,” that
                                                                                that his
                                                                                     his innovative
                                                                                          innovative

roundtables were
roundtables were "so
                 “so successful...
                     successful…[and]
                                   [and] aa best
                                            best practice
                                                 practice that
                                                          that [he]
                                                               [he] should
                                                                    should share
                                                                           share with
                                                                                 with [his]
                                                                                      [his] colleagues
                                                                                            colleagues

across the
across the US
           US Carrier
              Carrier Channel
                      Channel -- well
                                 well done
                                      done Steve.”
                                           Steve." Mr.
                                                   Mr. Bernie’s results achieved
                                                       Bernie's results achieved were
                                                                                 were 119%
                                                                                      119% quota
                                                                                           quota

attainment and
attainment     113% strategic
           and 113% strategic objective
                              objective attainment,
                                        attainment, that
                                                    that his
                                                         his supervisor
                                                             supervisor called
                                                                        called aa “Great
                                                                                  "Great Job!” The
                                                                                         Job!" The

review summarily
review summarily stated:
                 stated: “Steve,
                         "Steve, thanks
                                 thanks for
                                        for all
                                            all you
                                                you do
                                                    do and
                                                       and here’s to aa great
                                                           here's to    great year
                                                                              year ahead!”
                                                                                   ahead!"

       17.
       17.     That
               That was
                    was Mr. Berney’s last
                        Mr. Berney's last Apple
                                          Apple review.
                                                review. He
                                                        He did
                                                           did not
                                                               not receive
                                                                   receive one
                                                                           one for
                                                                               for the
                                                                                   the review
                                                                                       review

period June
period June 2018
            2018 -- May
                    May 2019.
                        2019.

       18.
       18.     He was
               He was on
                      on short-term
                         short-term disability
                                    disability leave
                                               leave from
                                                     from May
                                                          May 30,
                                                              30, 2019
                                                                  2019 through
                                                                       through September
                                                                               September 30,
                                                                                         30,

2019. While
2019. While on this leave,
            on this leave, he
                           he was
                              was told
                                  told his
                                       his position
                                           position with
                                                    with Apple
                                                         Apple was
                                                               was being
                                                                   being eliminated
                                                                         eliminated “due to
                                                                                    "due to

business reasons."
business reasons.” A
                   A much
                     much younger
                          younger person
                                  person performs
                                         performs his
                                                  his job
                                                      job duties
                                                          duties as
                                                                 as Carrier
                                                                    Carrier Account
                                                                            Account Manager.
                                                                                    Manager.

He was
He was never
       never told
             told what
                  what the
                       the "business
                           “business reasons"
                                     reasons” were.
                                              were. He
                                                    He was
                                                       was told,
                                                           told, however,
                                                                 however, that
                                                                          that he
                                                                               he could
                                                                                  could apply
                                                                                        apply

for
for any
    any job
        job at
            at Apple
               Apple that
                     that arose
                          arose before his actual
                                before his actual layoff
                                                  layoff date
                                                         date of
                                                              of October
                                                                 October 18,
                                                                         18, 2019.
                                                                             2019.

       19.
       19.     Although defendant
               Although defendant Apple
                                  Apple sought
                                        sought aa release
                                                  release of
                                                          of any
                                                             any age
                                                                 age discrimination
                                                                     discrimination claims,
                                                                                    claims, Apple
                                                                                            Apple

did not
did not supply
        supply Mr.
               Mr. Berney
                   Berney with
                          with information
                               information required
                                           required by
                                                    by the
                                                       the Older
                                                           Older Workers
                                                                 Workers Benefit
                                                                         Benefit Protection
                                                                                 Protection Act
                                                                                            Act

that would
that would have
           have allowed
                allowed him
                        him to
                            to review
                               review the
                                      the ages
                                          ages of
                                               of those
                                                  those persons laid off
                                                        persons laid off as
                                                                         as against
                                                                            against those
                                                                                    those who
                                                                                          who were
                                                                                              were

retained.
retained.

       20.     The same day
               The same day that
                            that he
                                 he was
                                    was informed
                                        informed of
                                                 of his
                                                    his layoff,
                                                        layoff, Apple
                                                                Apple Human
                                                                      Human Resources
                                                                            Resources called
                                                                                      called

to inform
to inform him
          him that
              that there
                   there was
                         was an
                             an opening
                                opening for
                                        for aa Regional
                                               Regional Sales
                                                        Sales Manager,
                                                              Manager, the
                                                                       the very
                                                                           very same
                                                                                same job
                                                                                     job he
                                                                                         he had
                                                                                            had

performed very
performed very successfully
               successfully for
                            for nearly
                                nearly sixteen
                                       sixteen years,
                                               years, in
                                                      in the
                                                         the Maryland/District
                                                             Maryland/District of
                                                                               of Columbia
                                                                                  Columbia market.
                                                                                           market.

He applied
He applied for
           for that
               that job
                    job and
                        and was
                            was definitely
                                definitely willing
                                           willing to
                                                   to relocate
                                                      relocate to
                                                               to keep
                                                                  keep his
                                                                       his job
                                                                           job with
                                                                               with Apple.
                                                                                    Apple.

       21.
       21.     At the
               At the time
                      time he
                           he applied,
                              applied, the
                                       the job
                                           job posting
                                               posting has
                                                       has been
                                                           been closed,
                                                                closed, but
                                                                        but Apple
                                                                            Apple permitted
                                                                                  permitted him
                                                                                            him to
                                                                                                to

apply anyway,
apply anyway, so
              so he did not
                 he did not see
                            see aa description
                                   description for
                                               for the
                                                   the job.
                                                       job. Upon
                                                            Upon information
                                                                 information and
                                                                             and belief,
                                                                                 belief, the
                                                                                         the job
                                                                                             job

description for
description for that
                that position
                     position was
                              was very
                                  very similar
                                       similar to
                                               to the
                                                  the job
                                                      job description for the
                                                          description for the position
                                                                              position that
                                                                                       that he
                                                                                            he had
                                                                                               had held
                                                                                                   held




                                                  4
          Case 3:20-cv-01379-JAM Document 1 Filed 09/15/20 Page 5 of 8




for 15 1/2
for 15 ½ years.
           years. If
                  If the
                     the job
                         job description
                             description were
                                         were revised,
                                              revised, he was never
                                                       he was never given
                                                                    given aa copy
                                                                             copy of
                                                                                  of aa revision,
                                                                                        revision, nor
                                                                                                  nor

was he
was he told
       told about
            about any
                  any revisions.
                      revisions.

       22.
       22.     He had
               He had seven
                      seven interviews,
                            interviews, including
                                        including with
                                                  with his
                                                       his peers,
                                                           peers, peers
                                                                  peers of his former
                                                                        of his former boss,
                                                                                      boss, then
                                                                                            then

with his
with his former
         former boss,
                boss, then
                      then with
                           with Human
                                Human Resources
                                      Resources and
                                                and finally
                                                    finally with
                                                            with aa Vice
                                                                    Vice President,
                                                                         President, Mr.
                                                                                    Mr. Steven
                                                                                        Steven

Cano. None
Cano. None of
           of the
              the people
                  people in
                         in any
                            any of
                                of these
                                   these interviews
                                         interviews mentioned
                                                    mentioned the
                                                              the need
                                                                  need for
                                                                       for carrier
                                                                           carrier experience
                                                                                   experience in
                                                                                              in

the Regional
the Regional Sales
             Sales Manager
                   Manager job
                           job or
                               or substantially
                                  substantially asked
                                                asked about
                                                      about his
                                                            his work
                                                                work in
                                                                     in the
                                                                        the carrier
                                                                            carrier job.
                                                                                    job.

       23.
       23.     In Mr. Berney's
               In Mr. Berney’s long
                                long experience
                                     experience at
                                                at Apple,
                                                   Apple, the
                                                          the most
                                                              most important
                                                                    important requirement
                                                                              requirement for
                                                                                          for aa

Regional Sales
Regional       Manager, aa job
         Sales Manager,    job that
                                that primarily
                                      primarily consisted
                                                consisted of
                                                          of managing
                                                             managing people,
                                                                      people, was
                                                                              was successful
                                                                                   successful

managerial experience.
managerial experience.

       24.
       24.     If any of
               If any of the
                          the people
                               people interviewing
                                       interviewing Mr.
                                                    Mr. Berney
                                                        Berney had
                                                               had any
                                                                   any concerns
                                                                       concerns with
                                                                                with his
                                                                                     his prior
                                                                                         prior

performance, that
performance, that was
                  was not
                      not aa subject
                             subject that
                                     that was
                                          was discussed.
                                              discussed. In
                                                         In his
                                                            his job
                                                                job with
                                                                    with Apple,
                                                                         Apple, he
                                                                                he was
                                                                                   was never
                                                                                       never given
                                                                                             given

any kind
any kind of
         of aa performance
               performance warning
                           warning nor
                                   nor aa poor
                                          poor performance
                                               performance evaluation.
                                                           evaluation.

       25.
       25.     Lisa Vincent from
               Lisa Vincent from Human
                                 Human Resources
                                       Resources informed
                                                 informed Mr.
                                                          Mr. Berney
                                                              Berney that at the
                                                                     that at the conclusion
                                                                                 conclusion

of the
of the interview
       interview process,
                 process, he
                          he was
                             was one
                                 one of
                                     of two
                                        two final
                                            final candidates.
                                                  candidates.

       26.
       26.     On October
               On October 16,
                          16, 2019,
                              2019, he was informed
                                    he was informed that
                                                    that he
                                                         he was
                                                            was not
                                                                not chosen
                                                                    chosen for
                                                                           for the
                                                                               the job.
                                                                                   job. It was
                                                                                        It was

instead awarded
instead awarded to Cristina Arndt,
                to Cristina Arndt, aa former
                                      former program
                                             program manager.
                                                     manager. At
                                                              At the
                                                                 the time that she
                                                                     time that she was
                                                                                   was chosen,
                                                                                       chosen,

she was
she was 37
        37 years
           years old
                 old and
                     and she
                         she had
                             had never
                                 never worked
                                       worked as
                                              as aa manager
                                                    manager at
                                                            at Apple.
                                                               Apple. Upon
                                                                      Upon information
                                                                            information and
                                                                                        and

belief, she
belief, she had
            had previously
                previously been
                           been aa trainer
                                   trainer and
                                           and worked
                                               worked on
                                                      on pilots
                                                         pilots for
                                                                for the
                                                                     the consumer
                                                                         consumer labor
                                                                                  labor channel.
                                                                                        channel.

With Mr.
With Mr. Berney’s years of
         Berney's years of experience
                           experience as
                                      as aa successful
                                            successful Regional
                                                       Regional Sales
                                                                Sales Manager,
                                                                      Manager, he
                                                                               he was
                                                                                  was much
                                                                                      much more
                                                                                           more

qualified for
qualified for the
              the Regional
                  Regional Sales
                           Sales Manager
                                 Manager position
                                         position than
                                                  than Ms.
                                                       Ms. Arndt.
                                                           Arndt.

VI.
VI.    FIRST
       FIRST COUNT:  AgeDiscrimination
             COUNT: Age  Discriminationin
                                        inTermination
                                          Termination (ADEA
                                                      (ADEA Violation)
                                                            Violation)

       27.
       27.     Mr. Berney
               Mr. Berney incorporates
                          incorporates by reference each
                                       by reference      and every
                                                    each and every allegation
                                                                   allegation in
                                                                              in paragraphs
                                                                                 paragraphs 11

through 19,
through 19, above.
            above.




                                                 5
           Case 3:20-cv-01379-JAM Document 1 Filed 09/15/20 Page 6 of 8




       28.
       28.     But for
               But for Mr.
                       Mr. Berney’s age, Apple
                           Berney's age, Apple would
                                               would not
                                                     not have
                                                         have terminated
                                                              terminated his
                                                                         his employment.
                                                                             employment.

       29.
       29.     As aa result
               As    result of
                            of Apple’s unlawful conduct,
                               Apple's unlawful conduct, Mr.
                                                         Mr. Berney
                                                             Berney has
                                                                    has suffered
                                                                        suffered and
                                                                                 and will
                                                                                     will continue
                                                                                          continue

to suffer
to suffer economic harm, including
          economic harm, including but
                                   but not
                                       not limited
                                           limited to
                                                   to loss
                                                      loss of
                                                           of salary,
                                                              salary, benefits,
                                                                      benefits, and
                                                                                and stock
                                                                                    stock awards
                                                                                          awards and
                                                                                                 and

bonuses.
bonuses.

VII. SECOND
VII.   SECOND COUNT:Age
             COUNT:   Age Discrimination
                        Discrimination ininTermination
                                            Termination(Liquidated
                                                        (LiquidatedDamages
                                                                   Damages under
                                                                           under
       ADEA)
       ADEA)

       30.
       30.     Mr. Berney
               Mr. Berney incorporates
                          incorporates by reference each
                                       by reference      and every
                                                    each and every allegation
                                                                   allegation in
                                                                              in paragraphs
                                                                                 paragraphs 11

through 19,
through 19, above.
            above.

       31.
       31.     But for
               But for Mr.
                       Mr. Berney’s age, Apple
                           Berney's age, Apple would
                                               would not
                                                     not have
                                                         have terminated
                                                              terminated his
                                                                         his employment.
                                                                             employment.

       32.
       32.     Apple’s unlawful
               Apple's unlawful conduct
                                conduct was
                                        was committed
                                            committed with
                                                      with willful
                                                           willful disregard
                                                                   disregard for
                                                                             for Mr.
                                                                                 Mr. Berney’s
                                                                                     Berney's

right to
right to be
         be free
            free from
                 from age
                      age discrimination.
                          discrimination.

       33.
       33.     As aa result
               As    result of
                            of Apple’s unlawful conduct,
                               Apple's unlawful conduct, Mr.
                                                         Mr. Berney
                                                             Berney claims
                                                                    claims liquidated
                                                                           liquidated damages.
                                                                                      damages.

VIII. THIRD
VIII.  THIRDCOUNT:
             COUNT:Age
                    Age DiscriminationininTermination
                       Discrimination      Termination(CFEPA
                                                       (CFEPA Violation)
                                                              Violation)

       34.
       34.     Mr. Berney
               Mr. Berney incorporates
                          incorporates by reference each
                                       by reference      and every
                                                    each and every allegation
                                                                   allegation in
                                                                              in paragraphs
                                                                                 paragraphs 11

through 19,
through 19, above.
            above.

       35.
       35.     His age
               His age was
                       was aa motivating
                              motivating factor
                                         factor in
                                                in the
                                                   the decision
                                                       decision to
                                                                to lay
                                                                   lay him
                                                                       him off.
                                                                           off. His
                                                                                His layoff
                                                                                    layoff violated
                                                                                           violated

Connecticut’s Fair
Connecticut's Fair Employment
                   Employment Practices
                              Practices Act.
                                        Act.

       36.
       36.     As aa result
               As    result of
                            of Apple’s wrongful conduct
                               Apple's wrongful conduct in
                                                        in including
                                                           including his
                                                                     his age
                                                                         age as
                                                                             as aa motivating
                                                                                   motivating factor,
                                                                                              factor,

Mr. Berney
Mr. Berney has
           has suffered
               suffered economic
                        economic and
                                 and non-economic
                                     non-economic losses
                                                  losses that will continue
                                                         that will continue into
                                                                            into the
                                                                                 the future,
                                                                                     future,

including but
including but not
              not limited
                  limited to
                          to loss
                             loss of
                                  of salary,
                                     salary, benefits,
                                             benefits, and
                                                       and stock
                                                           stock awards
                                                                 awards and
                                                                        and bonuses.
                                                                            bonuses. He
                                                                                     He also
                                                                                        also suffered
                                                                                             suffered

aa loss
   loss of
        of reputation
           reputation and,
                      and, in
                           in general,
                              general, emotional
                                       emotional distress
                                                 distress and
                                                          and loss
                                                              loss of
                                                                   of enjoyment
                                                                      enjoyment of
                                                                                of life’s activities.
                                                                                   life's activities.

IX.
IX.    FOURTH
       FOURTH COUNT:  AgeDiscrimination
              COUNT: Age  Discriminationin
                                         inFailure
                                           Failure to
                                                    to Rehire
                                                       Rehire (ADEA
                                                              (ADEA Violation)
                                                                    Violation)

       37.
       37.     Mr. Berney
               Mr. Berney incorporates
                          incorporates by reference each
                                       by reference      and every
                                                    each and every allegation
                                                                   allegation in
                                                                              in paragraphs
                                                                                 paragraphs 11

through 19,
through 19, above.
            above.



                                                   6
            Case 3:20-cv-01379-JAM Document 1 Filed 09/15/20 Page 7 of 8




          38.
          38.   But for
                But for Mr.
                        Mr. Berney's
                            Berney’s age,
                                     age, he
                                          he would
                                             would have
                                                   have been
                                                        been selected
                                                              selected for
                                                                       for the
                                                                            the Regional
                                                                                Regional Sales
                                                                                         Sales

Manager position.
Manager position.

          39.
          39.   As aa result
                As    result of
                             of Apple’s wrongful conduct,
                                Apple's wrongful conduct, he
                                                          he has
                                                             has suffered
                                                                 suffered economic
                                                                          economic harm
                                                                                   harm as
                                                                                        as pled
                                                                                           pled in
                                                                                                in

paragraph 29.
paragraph 29.

X.
X.        FIFTH
          FIFTH COUNT:   AgeDiscrimination
                 COUNT: Age  Discrimination in
                                             in Failure
                                                 Failure to
                                                          toRehire
                                                             Rehire (Liquidated
                                                                     (Liquidated Damages
                                                                                 Damages
          under ADEA)
          under AREA)

          40.
          40.   Mr. Berney
                Mr. Berney incorporates
                           incorporates by reference each
                                        by reference      and every
                                                     each and every allegation
                                                                    allegation in
                                                                               in paragraphs
                                                                                  paragraphs 11

through 26
through 26 and
           and 29,
               29, above.
                   above.

          41.
          41.   Apple’s wrongful
                Apple's wrongful conduct
                                 conduct was
                                         was in
                                             in bad
                                                bad faith
                                                    faith and
                                                          and taken
                                                              taken with
                                                                    with reckless
                                                                         reckless disregard
                                                                                  disregard of
                                                                                            of his
                                                                                               his

rights.
rights.

          42.
          42.   As aa result
                As    result of
                             of Apple’s unlawful conduct,
                                Apple's unlawful conduct, Mr.
                                                          Mr. Berney
                                                              Berney claims
                                                                     claims liquidated
                                                                            liquidated damages.
                                                                                       damages.

XI.
XI.       SIXTH COUNT:
          SIXTH         AgeDiscrimination
                COUNT: Age  Discriminationin
                                           inFailure
                                             Failure to
                                                      to Rehire
                                                         Rehire (CFEPA
                                                                (CFEPA Violation)
                                                                       Violation)

          43.
          43.   Mr. Berney
                Mr. Berney incorporates
                           incorporates by reference each
                                        by reference      and every
                                                     each and every allegation
                                                                    allegation in
                                                                               in paragraphs
                                                                                  paragraphs 11

through 26
through 26 and
           and 36,
               36, above.
                   above.

          44.
          44.   His age
                His age was
                        was aa motivating
                               motivating factor
                                          factor in
                                                  in the
                                                     the decision
                                                         decision to
                                                                   to not
                                                                      not rehire
                                                                           rehirehim,
                                                                                 him,violating  the
                                                                                      violating the

CFEPA and
CFEPA and causing
          causing damages.
                  damages.

XII. SEVENTH
XII.  SEVENTHCOUNT:
               COUNT:Age
                      Age DiscriminationininFailure
                         Discrimination      FailuretotoRehire
                                                         Rehire(CFEPA
                                                                (CFEPA Punitive
                                                                       Punitive
      Damages)
      Damages)

          45.
          45.   Mr. Berney
                Mr. Berney incorporates
                           incorporates by reference each
                                        by reference      and every
                                                     each and every allegation
                                                                    allegation in
                                                                               in paragraphs
                                                                                  paragraphs 11

through 26
through 26 and
           and 36,
               36, above.
                   above.

          46.
          46.   Apple’s wrongful
                Apple's wrongful conduct
                                 conduct was
                                         was in
                                             in bad
                                                bad faith
                                                    faith and
                                                          and taken
                                                              taken with
                                                                    with reckless
                                                                         reckless disregard
                                                                                  disregard of
                                                                                            of his
                                                                                               his

rights.
rights.

          47.
          47.   As aa result
                As    result of
                             of Apple’s unlawful conduct,
                                Apple's unlawful conduct, Mr.
                                                          Mr. Berney
                                                              Berney claims
                                                                     claims punitive
                                                                            punitive damages.
                                                                                     damages.




                                                 7
           Case 3:20-cv-01379-JAM Document 1 Filed 09/15/20 Page 8 of 8




      WHEREFORE, Mr.
      WHEREFORE, Mr. Berney
                     Berney respectfully
                            respectfullyprays
                                         praysthat
                                               that this Court award
                                                    this Court award the
                                                                      the following
                                                                           following

damages:
damages:

              a) Backpay
              a) Backpay damages
                         damages under
                                 under Counts
                                       Counts 1,
                                              1, 3,
                                                 3, 44 and
                                                       and 6;
                                                           6;

              b) Liquidated
              b) Liquidated damages
                            damages in
                                    in an
                                       an amount
                                          amount equal
                                                 equal to
                                                       to the
                                                          the backpay
                                                              backpay damages
                                                                      damages under
                                                                              under
                 Counts 2 and 5;
                 Counts 2 and 5;

              c) Front
              c) Front pay
                       pay damages
                           damages under
                                   under Counts
                                         Counts 1,
                                                1, 3,
                                                   3, 44 and
                                                         and 6;
                                                             6;

              d) Compensatory
              d) Compensatory damages
                               damages for
                                       for emotional
                                           emotional distress,
                                                     distress, loss
                                                               loss of
                                                                    of reputation
                                                                       reputation and
                                                                                  and
                 other non-economic
                 other non-economic harm
                                    harm under
                                         under Counts
                                               Counts 33 and
                                                         and 6;
                                                              6;

              e) Punitive
              e) Punitive damages
                          damages under
                                  under Count
                                        Count 7;
                                              7;

              f) Reasonable attorneys
              f) Reasonable attorneys fees
                                      fees and
                                           and costs,
                                               costs, pursuant
                                                      pursuant to
                                                               to the
                                                                  the ADEA
                                                                      ADEA and
                                                                           and the
                                                                               the
                 CFEPA; and
                 CFEPA;  and

              g) Any
              g) Any other
                     other remedies
                           remedies that
                                    that may
                                         may appear
                                             appear to
                                                    to be
                                                       be just
                                                          just and
                                                               and proper.
                                                                   proper.



                                                   THE PLAINTIFF,
                                                   THE PLAINTIFF,

                                                /s/ Joseph V.
                                           By: /s/Peld
                                           By:              D.94Vvtidoo
                                                                  Garrison
                                                Joseph
                                                Joseph D.
                                                        D. Garrison
                                                           Garrison (ct04132)
                                                                      (ct04132)
                                                GARRISON, LEVIN-EPSTEIN,
                                                GARRISON,   LEVIN-EPSTEIN,
                                                        FITZGERALD &
                                                        FITZGERALD      PIRROTTI, P.C.
                                                                      & PIRROTTI, P.C.
                                                405 Orange
                                                405  Orange Street
                                                             Street
                                                New Haven,
                                                New   Haven,CT      06511
                                                               CT 06511
                                                Tel.:  (203)777-4425
                                                Tel.: (203)  777-4425
                                                Fax: (203)
                                                Fax:   (203)776-3965
                                                             776-3965
                                                E-mail:   jgarrison@garrisonlaw.com
                                                E-mail. jgarrison@garrisonlaw.com




                                              8
